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        CASH NO:                                                         JEFFERSON CIRCUIT COURT
                                                                                 DIVISION _____

                                       "ELECTRONICALLY FILED**


        AMANDA MCMAKIN                                                                         PLAINTIFF       g
                                                                                                               o
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        v.                                         COMPLAINT                                                    o
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                                                                                                               s9.
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        SUNRISE SENIOR LIVING MANAGEMENT, INC.                                                                  O)
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        6700 Overlook Drive                                                                                     g
        Louisville, Kentucky 40241                                                                             Q.




               PROCESS AGENT: CT Corporation System
                              306 West Main Street, Suite S12
                              Frankfort, KY 40601                                           DEFENDANT
                                                   ***   *** ***

                                                                                                               in
               Comes the Plaintiff, Amanda McMakin, by counsel, and for her cause of action against the        s
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        Defendant, Sunrise Senior Living Management, Inc., she states as follows:                              z
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               1.      Plaintiff, Amanda McMakin, is and was at all times relevant hereto a resident of        3
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        Louisville, Jefferson County, Kentucky.                                                                <
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               2.      Defendant, Sunrise Senior Living Management, Inc (hereinafter “Sunrise Senior           s
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        Living”), is and was at all times relevant hereto an active foreign corporation regularly conducting
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        business in the state of Kentucky and subject to jurisdiction of this Court. Defendant’s principal     o
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        office is located at 7902 Wcstpark Drive, McLean, VA, 22102, and the agent for service of process      1
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        for Defendant is CT Corporation System, 306 W. Main Street, Suite 512, Frankfort, KY, 40601.           g
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               3.      Based upon information and belief, Sunrise Senior Living Management, Inc., was
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        the employer of Carissa Droppclman on January 17, 2019.                                                o
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               4.      Based upon information and belief, Sunrise Senior Living Development, Inc., was         •g
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        the employer of Carissa Droppclman on January n, 2019.
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                5.     Based upon information and belief, Sunrise Senior Living Sendees, Inc., was the

        employer of Carissa Droppelman on January 17,2019.

                6.     Defendant, Sunrise Senior Living, owns, operates, manages and/or maintains a

        facility known as “Sunrise Senior Living” as well as “Sunrise of Louisville,” with an address of        g
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        6700 Overlook Drive, Louisville, Kentucky, 40241. Defendant also owns, operates, manages                Ig
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        and/or maintains a bus which is used to transport its residents to and from the Defendant’s property.   s5?
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                7.     On or about January 17,2019, the Plaintiff was on the above-referenced bus owned         ■g
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        and/or maintained by the Defendant, Sunrise Senior Living.. Upon information and belief, an

        employee and agent of the Defendant named Carissa Droppelman was operating the bus. On said

        date, the employee/agent did not properly secure Plaintiffs wheelchair in the bus, and the

        employee/agent operated the bus in a negligent and reckless fashion and struck a.curb near the          PS-
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        entrance to Sunrise Senior Living causing Plaintiffs wheelchair to fall resulting in injury to
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        Plaintiff.
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                8.     That this is an accident that arose out of the operation, maintenance and/or use of      Q
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        the bus owned by the Defendant, Sunrise Senior Living.                                                  o
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                9.     That on or about January 17, 2019, the Plaintiff sustained serious and permanent         t
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        injuries while on the bus owned by Defendant and operated by an emptoyee/agent of Defendant.            Z
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                10.    At all times relevant hereto, the Defendant, by and through its agents, employees,       g.
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        servants, and ostensible agents, had a duty to exercise reasonable care in providing safe               £
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        transportation to its residents, including Plaintiff, Amanda McMakin.

                 II.   The Defendant, by and through its agents, employees, servants, and ostensible            g
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        agents, failed to exercise reasonable care in providing safe transportation to Plaintiff, Amanda
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        McMakin.                                                                                                g
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                12.     The Defendant’s negligence in providing safe transportation to Plaintiff, Amanda
        McMakin, was a direct and proximate cause of the injuries sustained by Plaintiff.

                13.     The Defendant knew or should have known that their employee/agent, Carissa

        Droppelman, was not qualified to operate the bus and posed an unreasonable risk of harm to its        «
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        residents including the Plaintiff, Amanda McMakin.                                                    o
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                14.     The Defendant, by and through its agents, employees, servants, and ostensible         o
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        agents, had a duty to exercise reasonable care in adequately training its employee/agent, Carissa     n


        Droppelman, to operate the bus owned by Sunrise to ensure safe transportation for its residents.
                15.     The Defendant, by and through its agents, employees, servants, and ostensible

        agents, failed to exercise reasonable care in adequately training its employee/agent, Carissa

        Droppelman, to operate the bus owned by Sunrise to ensure safe transportation for its residents,      n
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        including the Plaintiff, Amanda McMakin.                                                              w
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                16. .    The Defendant’s negligence adequately training its employee/agent, Carissa           £
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        Droppelman, to operate the bus owned by Sunrise to ensure safe transportation for its residents      • o
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        was a direct and proximate cause of the injuries sustained by Plaintiff.                              o
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                17.     That as a direct and proximate result of the negligence and recklessness of the       t
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        Defendant, Sunrise Senior Living, the Plaintiff has incurred significant medical expense for the      z
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        treatment of her injuries, all past, present, and future, all to her damage.                          G»

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                IS.     That as a direct and proximate result of the negligence and recklessness of the
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        Defendant, Sunrise Senior Living, the Plaintiff has been unable to labor and earn a wage for a

        period of time, all to her damage.                                                                    g
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                19.    That as a direct and proximate result of the negligence of the Defendant, Sunrise

        Senior Living, the Plaintiff has suffered both physical and emotional pain, all past, present, and

        future, all to her damage.

               20.     The acts and/or omissions of the Defendant, Sunrise Senior Living, which are            g
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        complained of in this Complaint, were grossly negligent and/or reckless, thus making the
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        Defendant liable to the Plaintiff for punitive damages.. .                                             s
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               21.     Plaintiff has been injured in an amount which exceeds the minimum jurisdictional        a


        requirements of this Court.

               WHEREFORE, Plaintiff demands as follows:

                1. Judgment against .the Defendant in an amount which will justly and adequately

        compensate her for her injury, past and future medical expenses, past and future pain and suffering,
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        and all other damage .as a result of Defendant’s carelessness, negligence and/or recklessness,         <a
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        including punitive damages.                                                                            a*3
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              '2. Trial by jury.                                                                               a
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               3. Attorney's tees and costs incurred herein expended.                                          a
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               AND                                                                                             t
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               4. Any and all other reliefto which he may appear entitled.                                     z
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                                                      Respectfully submitted,                                  Dl
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                                                      /s/Brian E. Clare                                        .S
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                                                      Brian E. Clare
                                                      Attorney at Law
                                                      600 W. Main Street, Suite 300                            o
                                                      Louisville, Kentucky 40202                               S
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                                                      (502)589-6190
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                                                      Counselfor Plaintiff                                     g
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